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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION



    STATE OF FLORIDA,

          Plaintiff,

    v.                                           CASE NO. 8:21-cv-839-T-23AAS

    XAVIER BECERRA, et al.,

          Defendants.
    __________________________________/


                                       ORDER

          The American Society of Travel Advisors’ (ASTA) motion (Doc. 42) to

    submit an amicus brief is GRANTED. No later than MAY 21, 2021, the ASTA

    may submit an amicus brief. The motion (Doc. 50) to reply is DENIED AS MOOT.

          ORDERED in Tampa, Florida, on May 18, 2021.
